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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




KEVIN BARRY, et al.,

                     Plaintiffs,


       v.                                           Civil Action No. 1:16-cv-01625-RC


THE ISLAMIC REPUBLIC OF IRAN,

                     Defendant.

                                      PROPOSED ORDER

       Upon consideration of The Smith Plaintiffs’ Motion to Adopt the Special Master’s Report

and Recommendation As Supplemented (Dkt. Nos. 39, 52), it is hereby

       ORDERED that the motion is GRANTED; and it is further

       ORDERED that, the Court hereby adopts the Special Master’s Report and

Recommendation as supplemented and shall enter judgment on behalf of the Smith Plaintiffs

consistent with the Report and Recommendation.



       SO ORDERED.


Date: ____________, 2019
                                                 Hon. Rudolph Contreras
                                                 United States District Judge
